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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                        Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                               Case No. 23-90147 (DRJ)

                                      Debtors. 1                        (Jointly Administered)


                 NOTICE OF RESCHEDULED DEADLINES IN CONNECTION
               WITH THE SALE OF THE DEBTORS’ ASSETS FREE AND CLEAR
               OF ANY AND ALL CLAIMS, INTERESTS, AND ENCUMBRANCES

       PLEASE TAKE NOTICE that on June 22, 2023, the Court entered the Order (I) Approving
Bid Procedures for Sale of the Debtors' Assets, (II) Approving Bid Protections, (III) Scheduling
Certain Dates with Respect Thereto, (IV) Approving the Form and Manner of Notice Thereof, and
(V) Approving Contract Assumption and Assignment Procedures [Docket No. 701] (the “Bid
Procedures Order”)2.

       PLEASE TAKE FURTHER NOTICE that on June 26, 2023, the Debtors filed the Notice
of Auction for the Sale of the Debtors Assets Free and Clear of Any and All Claims, Interests, and
Encumbrances [Docket No. 717], which set forth, among other things, the hearing for approval of
any Sales, which is presently scheduled to commence on August 7, 2023, at 2:00 p.m. (prevailing
Central Time), and certain deadlines associated therewith.

        PLEASE TAKE FURTHER NOTICE that on July 26, 2023, the Debtors filed the Notice
of Rescheduled Auction for the Sale of the Debtors Assets Free and Clear of Any and All Claims,
Interests, and Encumbrances [Docket No. 1099], which set August 2, 2023 as the date the Debtors
intend to conduct the Auction (the “Rescheduled Auction Date”).

       PLEASE TAKE FURTHER NOTICE that due to the Rescheduled Auction Date, the
deadline to object to Adequate Assurance is being rescheduled from July 31, 2023 to August 4, 2023,
and the deadline to object to the Sale is being rescheduled from August 3, 2023 to August 7, 2023
at 9:00 a.m. (prevailing Central Time).

       PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures order, copies of
this Notice of Rescheduled Deadlines in Connection With the Sale of the Debtors’ Assets Free and
Clear of any and All Claims, Interests, and Encumbrances (“Sale Notice”) will be served upon the
Sale Notice Parties: (a) the Office of the United States Trustee for the Southern District of Texas;
(b) counsel to the Official Committee of Unsecured Creditors, McDermott Will & Emery LLP, Attn:
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      A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
      Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is 3650 Mansell
      Road, Suite 250, Alpharetta, GA 30022.
2
      A capitalized term used but not defined herein shall have the meaning ascribed to it in the Bid Procedures Order.
                                                            1
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Maris J. Kandestin (mkandestin@mwe.com), Chuck Gibbs (crgibbs@mwe.com), Marcus Helt
(mhelt@mwe.com); (c) counsel to the DIP Agent, Greenberg Traurig, LLP, Attn: John D. Elrod,
Esq. (elrodj@gtlaw.com) and Shari Heyen, Esq. (heyens@gtlaw.com); (d) the state Attorneys
General for states in which the Debtors conduct business; (e) the Internal Revenue Service; (f) the
Securities and Exchange Commission; (g) the Environmental Protection Agency and similar state
agencies for states in which the Debtors conduct business; (h) all known holders of liens,
encumbrances, and other claims secured by the Assets; (i) all known creditors of the Debtors; (j)
each governmental agency that is an interested party with respect to the Sale and transactions
proposed thereunder; (k) any party that has requested notice pursuant to Bankruptcy Rule 2002; (l)
all parties that have formally expressed an interest in potentially bidding upon some or all of the
Assets; and (m) any other party entitled to notice pursuant to Bankruptcy Local Rule 9013-1(d).

 Dated: July 27, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Michael D. Warner
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                                                -and-

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                                                Counsel to the Debtors and Debtors in Possession



                                  CERTIFICATE OF SERVICE
I hereby certify that on July 27, 2023, a true and correct copy of the above and foregoing has been
served on all parties that are registered to receive electronic transmission through this Court’s
CM/ECF filing system in these cases.
                                                    /s/ Michael D. Warner
                                                    Michael D. Warner


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